 Case: 1:22-cv-03698 Document #: 22 Filed: 07/26/22 Page 1 of 1 PageID #:1261

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Emoji Company GmbH
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:22−cv−03698
                                                                      Honorable Sharon
                                                                      Johnson Coleman
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 26, 2022:


        MINUTE entry before the Honorable Sharon Johnson Coleman: Telephone motion
hearing held on 7/26/2022. Plaintiff's motion for leave to file under seal [6], motion to
exceed page limitation [9], and ex parte motion for entry of a temporary restraining order,
including a temporary injunction, a temporary transfer of the defendant domain names, a
temporary asset restraint, expedited discovery, and service of process by email and/or
electronic publication [10] are all granted. Enter Order. Status hearing is set for 8/8/2022
at 9:15 AM. Mailed notice. (ym, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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